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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

TRACY TAUB,                                 )
on behalf of plaintiff and others           )   Honorable Avern Cohn
similarly situated,                         )
                                            )
                    Plaintiff,              )
      v.                                    )    Case No. 2:16-cv-14340
                                            )
PNC BANK NATIONAL                           )
ASSOCIATION d/b/a CLC                       )
CONSUMER SERVICES CO.,                      )
                                            )
                    Defendant.              )

                     STIPULATED ORDER OF DISMISSAL

      Plaintiff Tracy Taub and Defendant PNC Bank, N.A, having executed a

Settlement Agreement fully resolving this matter as between them, the parties

hereby stipulate to the entry of this Order of Dismissal, as evidenced by the

signature of their respective counsel below. In light of same and the Court being

otherwise fully advised in the premises:

      IT IS HEREBY ORDERED that Plaintiff Tracy Taub’s individual claims

against Defendant PNC Bank, N.A. are dismissed with prejudice; that the class

claims against Defendant PNC Bank, N.A. are dismissed with without prejudice;

and that each party shall bear its own costs and fees.

      Dated: March 21, 2017                          S/Avern Cohn

                                                         Honorable Avern Cohn
                                                         U.S. District Court Judge
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/s/ Cathleen Combs
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                                CERTIFICATE OF SERVICE

       I, Cathleen M. Combs, hereby certify that on March 20, 2017, I caused a true and
accurate copy of the foregoing document to be electronically filed with the Clerk of the United
States District for the Eastern District of Michigan by filing through the CM/ECF system,
which served a copy upon all counsel of record.


                                                    /s/ Cathleen M. Combs
                                                    Cathleen M. Combs

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